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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,                   Criminal No. 22-cr-00015-APM

       v.                                    MOTION TO CONTINUE TRIAL
                                             AND FOR APPOINTMENT OF
 ELMER STEWART RHODES, et al,                SPECIAL MASTER TO
                                             ADMINISTER DIGITAL
                    Defendant.               DISCOVERY




  MOTION TO CONTINUE TRIAL AND FOR APPOINTMENT OF SPECIAL
          MASTER TO ADMINISTER DIGITAL DISCOVERY

                         Evidentiary hearing requested.

      NOW comes Defendant, ELMER STEWART RHODES III (“Rhodes”), by

and through his counsel of record, and respectfully moves this Court for an order

continuing trial until proper necessary discovery can take place.

      This motion incorporates the following memorandum of points and

authorities.

      Counsel has alerted counsel for the United States of this motion; and the

United States objects to the motion.

               MEMORANDUM OF POINTS AND AUTHORITIES

      At present the U.S. Department of Justice has conceded that January 6

represents the most complicated set of cases in the Department’s history. By the

Department’s admission, discovery in this case surpasses 10 terabytes of data.
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        Multiple agencies, as well as officials and committees of the U.S. Congress,

have simultaneous jurisdiction over the Jan. 6 investigations. Various government

officials, including the Chair of the U.S. House of Representatives Select

Committee on January 6, have contended and asserted a wide-ranging conspiracy

between Defendant Rhodes, Rhodes’ codefendants, the Oathkeepers organization,

Proud Boys, and President Trump or other elected officials. President Trump was

even impeached for his supposed role in directing the events of January 6.

   I.      The Discovery presents a logistical nightmare.

        All of this presents a logistical nightmare for Rhodes and other defendants

trying to navigate through the many terabytes of digital discovery. Rhodes has

been held in four (4) different jails in the short time of his case; and each location

has presented its own obstacles for Rhodes to defend himself.

        Of the seven months of Rhodes’ incarceration, Rhodes has had access to

meaningful discovery for just two months. Now he is being forced to face trial of

the most complicated facts and issues of any case in American history, while

facing potential life imprisonment, with access to discovery that is dated June

2022. It is now September 12, 2022 and Rhodes is being raced to trial in just two

weeks.

        While Rhodes’ codefendants in the D.C. jail have near-constant access to

discovery videos, Rhodes is incarcerated in a jail in Alexandria, Virginia where he
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gets only two days per week to examine electronic discovery; by being transported

to the District Court to use computers. The discovery hard drive Rhodes is allowed

to use has not been updated in three months.

       A. PROPOSAL FOR APPOINTMENT OF A SPECIAL MASTER

       One of the most cost-effective methods for managing and dispensing

discovery of such a massive volume is to engage a special master to help manage

discovery. Special masters can promote efficiency in discovery, the phase of

litigation that is most likely to break down and cause delays to case resolution.

       Discovery in this case is more massive than the discovery in many cases

where courts have appointed special masters to help manage discovery. For

example, the Whitmer-kidnapping-plot case in the U.S. District of Michigan in

2021, the Bundy prosecutions in the U.S. District of Nevada both used special

masters to manage, compile, dispense and compartmentalize discovery that was

less massive than the discovery in this case.

       Rhodes requests appointment of a special master in this case.

       B. APPOINTMENT ORDER

       The appointment order determines the scope of the master’s authority, what

issues may or may not be considered, the timeframe for addressing those issues,

and whether the master can communicate ex parte with the court. How these items

are addressed in the appointment order is a critical issue for all parties in the

litigation.
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      C. ALLOCATION OF PAYMENT

      The question of who will pay for the special master is a crucial

consideration. Under Federal Rule of Civil Procedure 53, courts may allocate

payment responsibility based on a variety of factors including “the nature and

amount of the controversy, the parties’ means, and the extent to which any party is

more responsible than other parties for the reference to a master.”

      D. STANDARD OF REVIEW

      Another key issue is the standard of review in connection with challenges

to master rulings and reports and recommendations. FRCP 53 requires courts to

review de novo party objections to the special master’s factual findings and legal

conclusions while using an abuse of discretion standard for rulings on procedural

matters. Nevertheless, the parties may opt to modify the de novo standard for

factual findings according to the needs of the case.

      E. SPECIAL MASTER’S EXPERIENCE

      A final consideration will involve selecting a special master with the right

background and experience for the matter. A retired judge or lawyer with

technical expertise and specialized knowledge of discovery to manage tricky

issues involving search and preservation. Driven’s expert consultants have served

as court-appointed special masters and ESI experts to manage any number of

discovery issues in the cases in which they have served.
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      To provide greater understanding regarding the considerations for using

special masters in discovery, we invite you to watch a recording of Driven, Inc.’s

webinar featuring U.S. Magistrate Judge Maria A. Audero (Central District,

California), retired Third Circuit Court of Appeals Judge Thomas I. Vanaskie, and

Kevin F. Brady (Senior eDiscovery Counsel, Volkswagen Group of America) as

they discuss the issues in detail.

      This massive amount of information—and doubtlessly, much

misinformation—presents a logistical nightmare with regard for distribution of

discovery, exhibits and evidence. Significantly, many large-scale federal criminal

cases, including the Whitmer-kidnapping allegations in Michigan, the Bundy cases

in Nevada, and others have made use of special discovery management firms and

masters to equitably and efficiently.

      Rhodes and his counsel propose the following discovery proposal:

   1. First, the basic categorization of this discovery must be analyzed and

      reviewed by a data management master who can assess the size, scope, and

      depth of the data and come up with a categorization plan.

   2. This special master, acting as an officer of the Court, will preside over the

      distribution, storage, and management of the discovery and make

      recommendations
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   II.      Facts and Background.

         Among other things, Rhodes and other Oathkeepers are charged with

seditious conspiracy “by force to prevent, hinder, and delay the execution of any

law of the United States” to “oppose the lawful transfer of presidential power by

force . . .” Witness Kellye SoRelle, a licensed attorney, was general counsel for

the Oathkeepers during the period, and can testify regarding her advice,

observations, and communications with Rhodes and the Oathkeepers

organization.

         SoRelle coauthored and so-signed with Rhodes at least one of the published

public letters on the Oathkeeper website to President Donald Trump between

election night 2020 and Jan. 6 urging the president to invoke the Insurrection Act,

10 U.S.C. §251-§255, to investigate 2020 election improprieties. It was the

Oathkeepers’ purpose expressed in these published public letters—advocacy to a

public official for redress of grievances, protected under the 1st amendment—that

form the foundation for the indictment in this case.

         SoRelle is a necessary witness. SoRelle literally provided legal counsel to

the Oathkeepers during the period when the indictment claims the Oathkeepers

(led by Rhodes) were engaging in a wide-ranging conspiracy to use force to

thwart the transfer of power between President Trump and President Biden.
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Upon information and belief, SoRellw would testify that, in her observations and

professional opinion, Rhodes followed and complied with the law during this

period.

      Further, upon information and belief, SoRelle previously testified before

the Jan. 6 Committee of Congress that Rhodes and Oathkeepers under her

observation complied and followed federal law. Upon information and belief,

SoRelle testified to the Jan. 6 Committee that Rhodes and Oathkeepers—

pursuant to her legal advice, direct observation and counsel—are innocent of

sedition, conspiracy, and other claims in the indictment. SoRelle’s testimony is

thus exculpatory evidence; and Brady material. To withhold it would be error of

an extreme magnitude. Counsel for Mr. Rhodes would like to add additional

claims as a further basis for this Court to grant the requested Motion for

Continuance. Since Rhodes’ incarceration in January of 2022 he has been placed

in three different detention facilities, each with a different level of access for

Rhodes to his discovery and his legal team. Since being placed in the Alexandria

Detention Facility in March of 2022, Rhodes has been virtually unable to view

the evidence that all of the other defendants have access to. Up until late June of

2022 Rhodes had no access to any of the digital discovery. Rhodes was only

allowed paper copies of what his Counsel could send him in the mail or deliver to

him personally.
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      As the Court is aware, Rhodes was recently allowed to have a laptop with

the discovery in the jail. However, the jail only allows Rhodes to have access to

this laptop two hours per week. As the Court is also aware, there are several

terabytes of discovery in this case. At the current working arrangement with the

Alexandria Detention Center Rhodes would have only had approximately twenty

hours of time to view the multiple terabytes of evidence that the government has

provided while the other defendants have had virtually unlimited access to the

evidence and the ability to process it with their attorneys. His location and lack of

access to the evidence continues to put him at a great disadvantage as compared to

the other co-defendants.



Dated: September 12, 2022

                                          Respectfully Submitted,
                                          /s/ Edward L. Tarpley Jr.
                                          _____________________________
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CERTIFICATE OF SERVICE

       I hereby certify that this document is being filed on this September 12, 2022,
with the Clerk of the Court by using the U.S. District Court for the District of
Columbia’s CM/ECF system, which will send an electronic copy of to the
following CM/ECF participants. From my review of the PACER account for this
case the following attorneys are enrolled to receive notice and a copy through the
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